Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page1of12PagelID# 1

FILED

UNITED STATES DISTRICT COURT ?MES ¥. VILT, JR. - CLERK
WESTERN DISTRICT OF KENTUCKY JAN -8 2025
AT LOUISVILLE
U.S. DISTRICT COURT
UNITED STATES OF AMERICA WESTIN. DIST. KENTUCKY

INDICTMENT

no. 3°. 5 -C&-2.-PGD
18 U.S.C. §2

SUKHJIT BAINS 18 U.S.C. § 922(g)(1)

JONATHAN ERNSPIKER 18 US.C. § 922(0)

18 U.S.C. § 924(a)(2)

18 US.C. § 924(a\(8)

18 U.S.C. § 924(c)(1)(A)

18 U.S.C. § 924(4)

18 U.S.C. § 933(a)(1)

18 U.S.C. § 933(a)(3)

18 US.C. § 933(b)

18 U.S.C. § 934

21 U.S.C. § 841(a)(1)

21 U.S.C. § 841(b\(1)(B)

21 U.S.C. § 853

26 US.C. § 2461

The Grand Jury charges:

COUNT 1
(Firearms Trafficking)

On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, SUKHJIT BAINS and JONATHAN ERNSPIKER, transferred and otherwise
disposed of a firearm or did conspire or attempt to do so, that is: a Smith and Wesson, model M&P
9L, 9 millimeter semi-automatic pistol, bearing serial number HNL4745; a Smith and Wesson,
model SD9VE, 9 millimeter semi-automatic pistol, bearing serial number HER2934; a Taurus,
model PT145 Pro, .45 caliber semi-automatic pistol, bearing serial number NFU74319; a Smith
and Wesson, model SW380, .380 auto semi-automatic pistol, bearing serial number RAB0402; a
SCCY, model CPX-2, 9 millimeter semi-automatic pistol, bearing serial number C216699; a Kahr,
model CW9, 9 millimeter semi-automatic pistol, bearing serial number YD6450; a Glock 23, .40

caliber semi-automatic pistol, bearing serial number EDW632US; DMPS model A-15, 5.56 caliber
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 2 of 12 PagelD #: 2

semi-automatic rifle, bearing serial number FH217837; a Diamondback model DB-15, multi-
caliber semi-automatic rifle, bearing serial number DB-1814188; a Charter Arms model Pathfinder
22, 22LR revolver bearing serial number 1104646; a Smith and Wesson, model 10, .38 caliber
revolver, bearing serial number 73228; a privately made, 3D printed semi-automatic pistol, bearing
no markings or serial number; a Beretta, model PX4 Storm, 9 millimeter semi-automatic pistol,
bearing serial number PX0201N; a Taurus, model G2C, 40 caliber semi-automatic pistol, bearing
serial number ABK017972; a Ruger model LCP, .38 caliber semi-automatic pistol, bearing serial
number 372350968; a Rock Island Armory, model 1911, .45 caliber semi-automatic pistol, bearing
serial number RIA2179788; a Ruger model LC9S, 9 millimeter semi-automatic pistol, bearing
serial number 327-63052; a Smith and Wesson, model M&P 45 Shield, .45 caliber semi-automatic
pistol, bearing serial number JBT6585 and ammunition, to Witness #1, in and otherwise affecting
commerce, knowing and having reasonable cause to believe that the use, carrying, or possession
of the firearm by Witness #1 would constitute a felony.

In violation of Title 18, United States Code, Sections 933(a)(1), (a)(3) and 933(b).

The Grand Jury further charges:

COUNT 2
(Distribution of Methamphetamine)

nie about November 20, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, SUKHJIT BAINS and JONATHAN ERNSPIKER, aided and abetted by each other
and others, knowingly and intentionally distributed fifty (50) grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II controlled
substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and Title

18, United States Code, Section 2.
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 3of 12 PagelD #: 3

The Grand Jury further charges:

COUNT 3
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

On or about November 20, 2024, in the Western District of Kentucky, Bullitt County,
Kentucky, SUKHJIT BAINS, did knowingly possess a firearm in furtherance of a drug trafficking
crime for which he may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, Section 924(c)(1)(A).

The Grand Jury further charges:

COUNT 4
(Possessing a Firearm in Furtherance of a Drug Trafficking Crime)

On or about November 20, 2024, in the Western District of Kentucky, Bullitt County,
Kentucky, JONATHAN ERNSPIKER, did knowingly possess a firearm in furtherance of a drug
trafficking crime for which he may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, Section 924(c)(1){A).

The Grand Jury further charges:

COUNT 5
(Possession of a Firearm by a Prohibited Person)

On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, SUKHJIT BAINS, knowingly possessed, in and affecting commerce, a firearm, that
is, a Charter Arms model Pathfinder 22, 22LR revolver, bearing serial number 1104646; a Smith
and Wesson, model 10, .38 caliber revolver, bearing serial number 73228; a privately made, 3D
printed semi-automatic pistol, bearing no markings or serial number; a Beretta model PX4 Storm,
9 millimeter semi-automatic pistol, bearing serial number PX0201N; a Taurus model G2C, .40

caliber semi-automatic pistol, bearing serial number ABK017972; a Ruger model LCP, .38 caliber

3
Case 3:25-cr-00002-DJH Documenti Filed 01/08/25 Page 4of12PagelD #: 4

semi-automatic pistol, bearing serial number 372350968; a Rock Island Armory model 1911, .45
caliber semi-automatic pistol, bearing serial number RIA2179788; a Ruger model LC9S, 9
millimeter semi-automatic pistol, bearing serial number 327-63052; a Smith and Wesson model
M&P 45 Shield, .45 caliber semi-automatic pistol, bearing serial number JBT6585 and
ammunition, with knowledge that he had previously been convicted in a court of a crime
punishable by imprisonment for a term exceeding one year, to wit:

On or about November 28, 2018, in the Western District of Kentucky, in case

number 3:17-CR-174-DJH, SUKHJIT BAINS was convicted of the offenses of

possession of a firearm and ammunition by a convicted felon and possession with

intent to distribute methamphetamine; and

On or about March 28, 2017, in Jefferson Circuit Court, Jefferson County,

Kentucky, in case number 16-CR-2284, SUKHJIT BAINS was convicted of the

offenses of wanton endangerment in the first degree, tampering with physical

evidence, and possession of a controlled substance in the first-degree

methamphetamine (two counts).

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

The Grand Jury further charges:

COUNT 6
(Possession of a Firearm by a Prohibited Person)

On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, JONATHAN ERNSPIKER, knowingly possessed, in and affecting commerce, a
firearm, that is, a Smith and Wesson model M&P 9L, 9 millimeter semi-automatic pistol, bearing
serial number HNL4745; a Smith and Wesson model SD9VE, 9 millimeter semi-automatic pistol,
bearing serial number HER2934; a Taurus model PT145 Pro, .45 caliber semi-automatic pistol,
bearing serial number NFU74319; a Smith and Wesson model SW380, .380 auto semi-automatic
pistol, bearing serial number RAB0402; a SCCY model CPX-2, 9 millimeter semi-automatic
pistol, bearing serial number C216699; a Kahr model CW9, 9 millimeter semi-automatic pistol,

bearing serial number YD6450; a Glock model 23, .40 caliber semi-automatic pistol, bearing serial

4
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 5of12PagelD# 5

number EDW632US; DMPS model A-15, 5.56 caliber semi-automatic rifle, bearing serial number
FH217837; a Diamondback model DB-15, multi-caliber semi-automatic rifle, bearing serial
number DB-1814188 and ammunition, with knowledge that he had previously been convicted in
a court of a crime punishable by imprisonment for a term exceeding one year, to wit:

On or about May 26, 2017, in Bullitt Circuit Court, Bullitt County, Kentucky, in

case number 17-CR-12, JONATHAN ERNSPIKER was convicted of the offenses

of convicted felon in possession of a firearm, and possession of a controlled
substance in the first degree methamphetamine;

On or about November 4, 2013, in Bullitt Circuit Court, Bullitt County, Kentucky,
in case number 13-CR-105, JONATHAN ERNSPIKER was convicted of the
offense of fleeing or evading police in the first degree;

On or about November 4, 2013, in Bullitt Circuit Court, Bullitt County, Kentucky,
in case number 13-CR-104, JONATHAN ERNSPIKER was convicted of the
offense of manufacturing methamphetamine in the first degree;

On or about May 3, 2013, in Bullitt Circuit Court, Bullitt County, Kentucky, in case
number 12-CR-231, JONATHAN ERNSPIKER was convicted of the offense of
trafficking in a controlled substance in the first degree greater than two grams of
methamphetamine; and

On or about October 1, 2008, in Bullitt Circuit Court, Bullitt County, Kentucky, in
case number 08-CR-97, JONATHAN ERNSPIKER was convicted of the offense
of criminal mischief in the first degree.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

The Grand Jury further charges:

COUNT 7
(Firearms Trafficking)

On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, the defendant, SUKHJIT BAINS, did transfer and otherwise dispose of a firearm, that
is: a privately made .300 Blackout, semi-automatic rifle, bearing no serial numbers, equipped with
a silencer; a Del-Ton model DTI-15, 5.56 millimeter semi-automatic pistol, bearing serial number

B90313; a Cobray model M-11/Nine, 9 millimeter semi-automatic pistol, bearing serial number
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 6 of 12 PagelD #: 6

XX-XXXXXXX; a Smith and Wesson model M&P 380 Shield EZ, .380 auto semi-automatic pistol,
bearing serial number NF V4228; a Glock model 43X, 9 millimeter semi-automatic pistol, bearing
serial hiaretlier BLYG103; a Glock model 45, 9 millimeter semi-automatic pistol, bearing serial
number CAWG241; a 3D printed Glock type machine gun conversion device bearing no serial
number, and ammunition, to Witness #1 and Witness #2, in and otherwise affecting commerce,
knowing and having reasonable cause to believe that the use, carrying, or possession of the firearm
by Witness #1 would constitute a felony.

In violation of Title 18, United States Code, Sections 933(a)(1) and 933(b).

The Grand Jury further charges:

COUNT 8
(Illegal Possession of a Machine Gun)

On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, SUKHJIT BAINS, did knowingly possess or transfer a machine gun, that is, a 3D
printed Glock type machine gun conversion device bearing no serial number.

In violation of Title 18, United States Code, Sections 922(0), and 924(a)(2).

The Grand Jury further charges:

COUNT 9
(Possession of a Firearm by a Prohibited Person)

On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, SUKHJIT BAINS, knowingly possessed, in and affecting commerce, a firearm, that
is, a privately made .300 Blackout, semi-automatic rifle, bearing no serial number, equipped with
a silence; a Del-Ton model DTI-15, 5.56 millimeter semi-automatic pistol, bearing serial number
B90313; a Cobray model M-11/Nine, 9 millimeter semi-automatic pistol, bearing serial number

XX-XXXXXXX; a Smith and Wesson model M&P 380 Shield EZ, .380 auto semi-automatic pistol,
6
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 7 of 12 PagelD #: 7

bearing serial number NF V4228; a Glock model 43X, 9 millimeter semi-automatic pistol, bearing
serial number BLYG103; a Glock model 45, 9 millimeter semi-automatic pistol, bearing serial
number CAWG?241; a 3D printed Glock type machine gun conversion device bearing no serial
number, and ammunition, with knowledge that he had previously been convicted in a court of a
crime punishable by imprisonment for a term exceeding one year, to wit:
On or about November 28, 2018, in the Western District of Kentucky, in case
number 3:17-CR-174-DJH, SUKHJIT BAINS was convicted of the offenses of
possession of a firearm and ammunition by a convicted felon and possession with
intent to distribute methamphetamine; and
On or about March 28, 2017, in Jefferson Circuit Court, Jefferson County,
Kentucky, in case number 16-CR-2284, SUKHJIT BAINS was convicted of the
offenses of wanton endangerment in the first degree, tampering with physical
evidence, and possession of a controlled substance in the first-degree

methamphetamine (two counts).

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

The Grand Jury further charges:

COUNT 10
(Distribution of Methamphetamine)

On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,
Kentucky, SUKHJIT BAINS, knowingly and intentionally distributed fifty (50) grams or more
of a mixture and substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, as defined in Title 21, United States Code, Section 812.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B).
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 8 of 12 PagelID#: 8

The Grand Jury further charges:

COUNT 11
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

On or about December 12, 2024, in the Western District of Kentucky, Bullitt County,
Kentucky, the defendant, SUKHJIT BAINS, did knowingly possess a firearm in furtherance of a
drug trafficking crime for which he may be prosecuted in a court of the United States,.

In violation of Title 18, United States Code, Section 924(c)(1)(A).

FORFEITURE

As a result of committing offenses in violation of Title 18, United States Code, Sections
933(a)(1), 933(a)(3), 922(0), 922(g)(1), 924(a)(2), and 924(a)(8), as alleged in this Indictment,
felonies punishable by imprisonment for more than one year, SUKHJIT BAINS, and
JONATHAN ERNSPIKER, shall forfeit to the United States, pursuant to Title 18, United States
Code, Sections 924(d) and 934, and Title 28, United States Code, Section 2461, all firearms and
ammunition involved in the commission of the offenses listed herein, and proceeds obtained
directly and indirectly from a violation of Title 18, United States Code, Section 933 and property
used and intended to be used, to commit violations of Section 933, including, but not limited to: a
Smith and Wesson model M&P 9L, 9 millimeter semivatitomsitic pistol, bearing serial number
HNL4745; a Smith and Wesson model SD9VE, 9 millimeter semi-automatic pistol, bearing serial
number HER2934; a Taurus model PT145 Pro, .45 caliber semi-automatic pistol, bearing serial
number NFU74319; a Smith and Wesson model SW380, .380 auto semi-automatic pistol, bearing
serial number RAB0402; a SCCY model CPX-2, 9 millimeter semi-automatic pistol, bearing serial
number C216699; a Kahr model CW9, 9 millimeter semi-automatic pistol, bearing serial number
YD6450; a Glock model 23, .40 caliber semi-automatic pistol, bearing serial number EDW632US;

and DMPS model A-15, 5.56 caliber semi-automatic rifle, bearing serial number FH217837; a
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 9of 12 PagelID# 9

Diamondback model DB-15, multi-caliber semi-automatic rifle, bearing serial number DB-
1814188; a Charter Arms model Pathfinder 22, 22LR revolver, bearing serial number 1 104646; a
Smith and Wesson, model 10, .38 caliber revolver, bearing serial number 73228; a privately made,
3D printed semi-automatic pistol, bearing no markings or serial number; a Beretta model PX4
Storm, 9 millimeter semi-automatic pistol, bearing serial number PX0201N; a Taurus model G2C,
40 caliber semi-automatic pistol, bearing serial number ABK017972; a Ruger model LCP, .38
caliber semi-automatic pistol, bearing serial number 372350968; a Rock Island Armory model
1911, .45 caliber semi-automatic pistol, bearing serial number RIA2179788; a Ruger model LC9S,
9 millimeter semi-automatic pistol, bearing serial number 327-63052; a Smith and Wesson model
M&P 45 Shield, .45 caliber semi-automatic pistol, bearing serial number JBT6585; a privately
made .300 Blackout, semi-automatic rifle, bearing no serial numbers, equipped with a silencer; a
Del-Ton model DTI-15, 5.56 millimeter semi-automatic pistol, bearing serial number B903 13;a
Cobray model M-11/Nine, 9 millimeter semi-automatic pistol, bearing serial number XX-XXXXXXX;
a Smith and Wesson model M&P 380 Shield EZ, .380 auto semi-automatic pistol, bearing serial
number NF V4228; a Glock model 43X, 9 millimeter semi-automatic pistol bearing serial number
BLYG103; a Glock model 45, 9 millimeter semi-automatic pistol, bearing serial number
CAWG?241; a 3D printed Glock type machine gun conversion device bearing no serial number;
and ammunition.

As a result of committing offenses in violation of Title 21, United States Code, Section
841(a)(1) as charged in this Indictment, felonies punishable by imprisonment for more than one
year, SUKHJIT BAINS and JONATHAN ERNSPIKER, shall forfeit to the United States,
pursuant to Title 21, United States Code, Section 853, any and all property constituting, or derived

from, proceeds the defendant obtained directly or indirectly, as a result of said offense, and any
Case 3:25-cr-00002-DJH Documenti Filed 01/08/25 Page 10 of 12 PagelD #: 10

and all of the defendant’s property used, or intended to be used, in any manner or part, to commit
or to facilitate the commission of the violations alleged in this Indictment, including but not limited
to the property listed in the above paragraph.

A TRUE BILL.

Mote lees |

Aiak.\ x: Sr

MICHAEL A. BENNETT
UNITED STATES ATTORNEY

MAB:JRP 1/7/25

10
Case 3:25-cr-00002-DJH Documenti Filed 01/08/25 Page 11 of 12 PagelD #: 11

UNITED STATES OF AMERICA v. SUKHJIT BAINS and JONATHAN ERNSPIKER

PENALTIES
Counts 1, 7: NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release (each count)
Count 2, 10: NL 5 yrs/NM 40 yrs./$5,00,000/both/NL 8 yrs. Supervised Release (each count)

Counts 3, 4, 11: NL 5 yrs/NM Life/$250,000/both/NM 5 yrs. Supervised Release (each count) (consecutive)
Counts 5, 6, 9: NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release (each count)
Count 8: NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release
Forfeiture
NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS,
SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

Misdemeanor: $ 25 per count/individual Felony: $100 per count/individual
$125 per count/other $400 per count/other

FINES
In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attommey's

Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

1. INTEREST and PENALTIES as applicable by law according to last date of offense.
For offenses occurring after December 12. 1987:
No INTEREST will accrue on fines under $2,500.00.
INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
the time of sentencing. This rate changes monthly. Interest accrues from the first business day
following the two week period after the date a fine is imposed.
PENALTIES of:
10% of fine balance if payment more than 30 days late.
15% of fine balance if payment more than 90 days late.

2. Recordation of a LIEN shall have the same force and effect as a tax lien.

3. Continuous GARNISHMENT may apply until your fine is paid.

18 U.S.C. §§ 3612, 3613
If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE

of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
IMPRISONMENT for not more than | year or both. 18 U.S.C. § 3615
Case 3:25-cr-00002-DJH Document1 Filed 01/08/25 Page 12 of 12 PagelD # 12

RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL
If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

1. That you deposit the entire fine amount (or the amount due under an installment schedule
during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

2 Give bond for payment thereof.
18 U.S.C. § 3572(g)
PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

LOUISVILLE: Clerk, U.S. District Court
106 Gene Snyder U.S. Courthouse
601 West Broadway
Louisville, KY 40202
502/625-3500

BOWLING GREEN: Clerk, U.S. District Court
120 Federal Building
241 East Main Street
Bowling Green, KY 42101
270/393-2500

. OWENSBORO: Clerk, U.S. District Court
126 Federal Building
423 Frederica
Owensboro, KY 42301
270/689-4400

PADUCAH: Clerk, U.S. District Court
127 Federal Building
501 Broadway
Paducah, KY 42001
270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
